UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. L BR 9004-1(b)

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Attorney for Debtor(s)

                                                        Case No.: 21-11778-ABA
In Re:
                                                        Chapter: 13
Howard C. Dunn
                                                        Judge:    Altenburg Jr.


                             ORDER CONCERNING APPLICATION TO
                           EXTEND TIME TO FILE MISSING DOCUMENTS

         The relief set forth on the following page is ORDERED.
     The Court having reviewed the debtor’s Application to Extend Time to File Missing
Documents, and any related responses or objections, it is hereby

       ORDERED that:

       □ The debtor’s request to extend time within which the missing documents must be filed is
granted. The balance of the debtor’s schedules as set forth in the Court’s Notice of Missing Documents
and Notice of Dismissal if Documents Are Not Timely Filed must be received by the Court no later than
                                                              . If all missing documents are not filed by
this date, the case will be dismissed without further notice.

       □ The debtor’s request to extend time to file missing documents is denied. The case is
dismissed. All outstanding fees to the Court are due and owing and must be paid within 5 days of the
date of this Order.




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                                             HONORABLE ANDREW B. ALTENBURG, JR.
                                             US BANKRUPTCY JUDGE
